                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


ANIMAL LEGAL DEFENSE FUND,

                      Plaintiff,

               v.                                                          Case No. 20-C-216

SPECIAL MEMORIES ZOO LLC, DONA WHEELER,
and GRETCHEN CROWE,

                      Defendant.


                                            ORDER


       The court hereby construes Defendants’ letter of November 5, 2020, as an Offer of

Judgment pursuant to Rule 68 of the Federal Rules of Civil Procedure and a Motion for a Protective

Order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure absolving defendants of any

further obligation to respond to Plaintiff’s discovery demands. Plaintiff is directed to file any

response to the letter so construed on or before November 30, 2020.

       Dated at Green Bay, Wisconsin this 9th day of November, 2020.

                                                    s/ William C. Griesbach
                                                    William C. Griesbach
                                                    United States District Judge




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